 BEFORE THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT
                     OF TENNESSEE AT NASHVILLE
                                                ORDER: Motion granted.

JOHN DOE,                                         )
                                                  )
Plaintiff,                                        )                     U.S. Magistrate Judge
                                                  )
v.                                                )   CASE NO. 3:18-cv-00569
                                                  )   District Judge William L. Campbell, Jr.
                                                  )   Magistrate Judge Jeffrey S. Frensley
VANDERBILT UNIVERSITY,                            )
MARY HELEN SOLOMON, and                           )
CARA TUTTLE BELL,                                 )
                                                  )
Defendants.                                       )

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   PLAINTIFF JOHN DOE’S MOTION FOR LEAVE TO FILE A SECOND AMENDED
                                  COMPLAINT
________________________________________________________________________________

        Comes the Plaintiff, by and through counsel, and moves this Honorable Court for leave to

file the Second Amended Complaint attached hereto as Exhibit A, pursuant to Rule 15 of the

Federal Rules of Civil Procedure.

        FRCP 15(a)(1)(B) provides that Plaintiff may amend his complaint once as a matter of

course within 21 days after service of Defendant’s motion under Rule 12(b)(6). Furthermore, in all

cases, a party may amend its pleadings with leave of the Court, and such leave should be freely

given when justice so requires. By amending his complaint, Plaintiff arranges his pleadings to

reflect the pleading standards articulated in Doe v. Miami University, 882 F.3d 579, updates his

pleadings to reflect law articulated in the Eastern District of Michigan’s recent decision in Doe v.

University of Michigan, 2018 WL 3329575, (E.D.Mich., 2018), and makes other changes

responsive to issues raised in Defendant’s Motion to Dismiss.




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